         Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 VICTOR MEJIA RIOS, INDIVIDUALLY                  §
 AND AS NEXT FRIEND W.D.M.R, ET                   §
 AL.,                                             §
                                                  §
         Plaintiff(s),                            §
                                                  §       5-19-cv-00552-RBF
 v.                                               §
                                                  §
 THE GEO GROUP, INC.,                             §
                                                  §
         Defendant.                               §

                   JOINT PROPOSED DISCOVERY-CONTROL PLAN
                           FOR PHASE I OF DISCOVERY

       In response to this Court’s Order granting phased discovery, ECF No. 35, the parties

hereby submit the attached Joint Proposed Discovery Plan for the Court’s consideration.

                                                Respectfully submitted,

                                                /s/ Jule Rousseau
                                                Jule Rousseau (admitted pro hac vice)
                                                ARENT FOX LLP
                                                1301 Avenue of the Americas, Floor 4
                                                New York, NY 10019
                                                212-484-3900
                                                jule.rousseau@arentfox.com

                                                Counsel for Plaintiffs
                                                /s/ Charlie Deacon
                                                Charles A. Deacon
                                                NORTON ROSE FULBRIGHT US LLP
                                                300 Convent Street, Suite 2100
                                                San Antonio, Texas 78205
                                                Telephone: (210) 224-5575
                                                Telecopier: (210) 270 7205
                                                charlie.deacon@nortonrosefulbright.com

                                                Counsel for The GEO Group, Inc.
            Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 2 of 9




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

     VICTOR MEJIA RIOS, INDIVIDUALLY                  §
     AND AS NEXT FRIEND W.D.M.R, ET                   §
     AL.,                                             §
                                                      §
            Plaintiff(s),                             §
                                                      §        5-19-cv-00552-RBF
     v.                                               §
                                                      §
     THE GEO GROUP, INC.,                             §
                                                      §
            Defendant.                                §

                              JOINT DISCOVERY-CONTROL PLAN
                                 FOR PHASE I OF DISCOVERY

          Pursuant to the Court’s Order directing the parties to file a joint discovery-control plan to

govern Phase I of discovery, ECF No. 35, the Plaintiffs and Defendant The GEO Group, Inc.

(“GEO”; collectively the “Parties”) conducted a Rule 26(f) conference by email on June 4, 2020,

and further consulted by email thereafter. The Parties jointly present to the Court this written report

outlining a proposed discovery-control plan that is tailored to address the issues identified by the

Court by developing a record to address “the manner in which the separation was effected” and

“the scope of GEO’s authority to do it.” Order at 3.

I.        PARTIES’ PLAN FOR PHASE I DISCOVERY

          As a preliminary matter, no changes should be made in the timing, form, or requirement

for disclosures under Rule 26(a). Plaintiffs and GEO made their initial disclosures pursuant to Rule

26(a) on November 6, 2019 and further agreed to supplement as necessary.

          To streamline discovery and to adequately address the needs of the Parties to aid in

developing a record as ordered by the Court while minimizing the costs to all the Parties and
            Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 3 of 9




promoting a timely resolution of this litigation, the Parties agree to limit discovery for Phase I to

the following topics identified in the Court’s Order:

       1.     The nature and scope of GEO’s role and authority to participate in the moving of

              Plaintiffs on 15 and 16 August 2018, including but not limited to communications to

              and from Immigration and Customs Enforcement (“ICE”) preceding, during, and

              immediately following the Plaintiff Fathers’ being moved and returned to Karnes

              Detention Facility and ICE’s standard practices in making decisions to move

              Plaintiffs; and

       2.     The manner in which GEO allegedly effected the moving of Plaintiff Fathers’,

              including applicable ICE governing standards, ICE’s ratification of GEO’s

              performance, and ICE’s direct participation in the move.

To encourage cooperation, efficiency, and economy in discovery, and also to limit discovery

disputes where possible, the following procedures have been agreed to by the Parties in this case:

       •     The Parties will first attempt in good faith to substantively discuss any discovery

             disputes by telephone before issuing discovery deficiency correspondence or seeking

             Court intervention;

       •     Discovery responses will be served by e-mail on all counsel; and

       •     Written discovery requests will be served in Word format upon the opposing counsel.

       A.       Phase I Discovery Completion Date

       The Parties propose a Phase I Discovery cut-off of September 9, 2020 based on the limited

amount of discovery necessary to address the issues identified by the Court. Accordingly, all Phase

I Discovery will be commenced and served in time to be completed by the cut-off date.
           Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 4 of 9




         B.     Electronically Stored Information (“ESI”)

         At this time, the Parties do not anticipate any problems with ESI preservation and

production. Though nothing in this plan waives the Parties’ respective objections to written

discovery, or serves as an admission that any written discovery is proper, the Parties agree that ESI

will be searched as part of responding to written discovery requests seeking same, subject to the

limitations set forth in the Federal Rules of Civil Procedure and case law interpreting and applying

same. If such discovery is appropriate, the Parties shall agree on appropriate parameters including

the format of production, date ranges and search terms. Subject to any objections that may be

properly asserted, the Parties agree to produce documents in PDF, TIFF, native and/or paper, or a

combination of those formats, as appropriate. If particular documents warrant a different

production format, the Parties will cooperate to arrange for the mutually acceptable production of

such documents. The Parties agree not to degrade the searchability, if any, of documents as part of

the document production process.

         The Parties agree to work toward an agreement regarding a protocol for analyzing and

reviewing such data and information. The Parties have not reached an agreement regarding the

scope of what, if any, information on the respective Parties’ information systems is or is not

discoverable, but have agreed to take steps to preserve such data as of the date this document is

filed.

         C.     Depositions

         The Parties agree that depositions are likely unnecessary at this stage. As described above

and below, GEO anticipates it will make a substantial production of responsive documents and

declarations that will mostly negate the need for depositions during this limited phase of discovery.

Therefore, excluding depositions of witnesses for which the Parties intend to offer declarations
               Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 5 of 9




and given the limited topics at issue in Phase I Discovery, depositions are deemed unnecessary

during Phase I Discovery except to the extent either party is able to demonstrate a specific need

for deposition testimony on issues that fall within the topics identified in the Court’s Order.

          D.       Declarations

          As referenced above, the Parties have generally agreed to forgo depositions throughout

Phase I Discovery. GEO further agrees to provide declarations addressing the following specific

topics:

          1.       Whether GEO or any of its agents made requests to ICE to move any detainees on

                   or immediately preceding August 15 and 16 of 2018 and whether there were any

                   other orders related to those requests, or if no requests were sent, then any orders

                   received from ICE and the understood bases for those orders;

          2.       GEO’s typical procedure for moving detainees, including whether restraints were

                   used and what equipment is supposed to be present;

          3.       Information about the specific move taking place on August 15-16, 2018 including

                   tactics, restraints, complaints from detainees, and equipment carried by GEO

                   personnel;

          4.       GEO’s understanding of ICE’s involvement in the moving of Plaintiffs including

                   personnel present and/or otherwise involved, the extent of their involvement and/or

                   right to direct GEO personnel’s behavior and the basis for GEO’s understanding;

                   and

          5.       The details of ICE’s or any other government entity's reports concerning any non-

                   compliance with its standards or any formal complaints with GEO during or after

                   the August 15 and 16 moving of Plaintiffs.
            Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 6 of 9




       E.       Interrogatories

       The Parties agree to limit and serve interrogatories within the time frame set by this

discovery-control plan. Plaintiffs will be permitted to collectively propound a maximum of 25

interrogatories, including all discrete subparts, on GEO.

       GEO will be permitted to propound a single, standardized set of up to 25 interrogatories,

including all discrete subparts, on each plaintiff. Interrogatories propounded by the Parties will be

limited to the following specific topics identified above.

       F.       Requests for Admissions

       The Parties agree that there is currently no good cause to expand the number of Requests

for Admission beyond the limit imposed under Federal rule of Civil Procedure 36 and Local Rule

CV-36, particularly since Phase I discovery in this matter will focus solely upon issues outlined

above. Therefore, an expansion of the number of Requests for Admission is unnecessary at this

time. The Parties agree to meet and confer about the need for, and scope of, additional Requests

for Admission in the event discovery beyond Phase I is needed.

       G.       Requests for Production

        The Parties acknowledge and agree that all requests will be narrowly tailored to the scope

of the Phase I Discovery as defined above.

       H.       Written Discovery to Third Parties

       Until further order of the Court, third party discovery, if required, is limited to depositions

on written questions to obtain documents in admissible form.

       I.       Confidentiality of Documents.

       An order preserving the confidentiality of documents will be entered by this Court. The

Parties shall meet and confer to discuss an appropriate protective order. The Parties will attempt
             Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 7 of 9




to agree on a mutually acceptable definition of confidentiality that will apply to documents

produced in this litigation.

        However, the Parties recognize that information requested in discovery may be in the

possession of government agencies, such as ICE, the Department of Homeland Security, the

Department of Justice or other federal agencies and/or subject to prohibitions or limitations on

disclosure in redacted or unredacted form under federal statutes and the regulations of those

agencies. Reviews and approvals for disclosures of information and/or depositions may occur

pursuant to processes and on timelines that the Parties cannot control. A protective order agreed

to by the Parties and entered by the Court may also need to be approved by the appropriate federal

agencies. If the Parties cannot reach an agreement concerning confidentiality, either party can

move for protection or file any other appropriate motion with the Court to seek relief.

        J.       Dispositive Motions

        All motions that, if granted by the Court, would dispose of part or all of the case,

specifically including motions for summary judgment, shall be filed not later than November 9,

2020.

        This Joint Discovery-Control Plan is structured to adhere to the judicial management

principles directed by the Court’s order.



        IT IS SO ORDERED.

        SIGNED on this ___ day of June, 2020

                                             _____________________________
                                             RICHARD B. FARRER
                                             UNITED STATES MAGISTRATE JUDGE
          Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 8 of 9




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2020, I electronically filed, on behalf of both parties, the

foregoing Joint Proposed Phase I Discovery Plan through the Court’s CM/ECF system, which

sent notification of such filing to all counsel of record who have appeared in this case:

       Charles A. Deacon
       charlie.deacon@nortonrosefulbright.com
       NORTON ROSE FULBRIGHT US LLP
       300 Convent Street, Suite 2100
       San Antonio, Texas 78205
       Telephone: (210) 224-5575
       Telecopier: (210) 270 7205

       Mark T. Emery
       mark.emery@nortonrosefulbright.com
       NORTON ROSE FULBRIGHT US LLP
       799 9th St. NW, Suite 1000
       Washington, DC 20001

       Attorneys for Defendant The GEO Group, Inc.

       Jule Rousseau (admitted pro hac vice)
       jule.rousseau@arentfox.com
       ARENT FOX LLP
       1301 Avenue of the Americas, Floor 42
       New York, NY 10019
       212-484-3900

       Jacob M. Gilbert
       ismael.bautista@arentfox.com
       jake.gilbert@arentfox.com
       ARENT FOX LLP
       555 West Fifth Street, 48th Floor
       Los Angeles, CA 90013
       213-629-7400

       Curtis FJ Doebbler
       Manoj Govindaiah
       manoj.govindaiah@raicestexas.org
       curtis.doebbler@raicestexas.org
       Refugee And Immigrant Center for
       Education and Legal Services (RAICES)
       802 Kentucky Avenue
  Case 5:19-cv-00552-RBF Document 36 Filed 06/08/20 Page 9 of 9




San Antonio, TX 78201
210-226-7722

Bridget Cambria
Karen Hoffman
bridget@aldeapjc.org
karen@aldeapjc.org
Aldea - The People’s Justice Center
532 Walnut Street
Reading, PA 19601
484-926-2014

Attorneys for Plaintiffs

                                      /s/ Curtis Doebbler
                                      Curtis FJ Doebbler
                                      curtis.doebbler@raicestexas.org
                                      Refugee and Immigrant Center for
                                      Education and Legal Services (RAICES)
                                      802 Kentucky Avenue
                                      San Antonio, TX 78201
                                      210-226-7722
